Case 1:04-cv-01945-JBW-SMG Document 892-13 Filed 06/09/06 Page 1 of 9 PageID #:
                                  58503
Case 1:04-cv-01945-JBW-SMG Document 892-13 Filed 06/09/06 Page 2 of 9 PageID #:
                                  58504
Case 1:04-cv-01945-JBW-SMG Document 892-13 Filed 06/09/06 Page 3 of 9 PageID #:
                                  58505
Case 1:04-cv-01945-JBW-SMG Document 892-13 Filed 06/09/06 Page 4 of 9 PageID #:
                                  58506
Case 1:04-cv-01945-JBW-SMG Document 892-13 Filed 06/09/06 Page 5 of 9 PageID #:
                                  58507
Case 1:04-cv-01945-JBW-SMG Document 892-13 Filed 06/09/06 Page 6 of 9 PageID #:
                                  58508
Case 1:04-cv-01945-JBW-SMG Document 892-13 Filed 06/09/06 Page 7 of 9 PageID #:
                                  58509
Case 1:04-cv-01945-JBW-SMG Document 892-13 Filed 06/09/06 Page 8 of 9 PageID #:
                                  58510
Case 1:04-cv-01945-JBW-SMG Document 892-13 Filed 06/09/06 Page 9 of 9 PageID #:
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